                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:13-00209
                                                 )           JUDGE CAMPBELL
JUAN COLLAZO                                     )

                                MEMORANDUM AND ORDER

                                          I. Introduction

       Pending before the Court is Defendant Juan Collazo’s Motion To Suppress Evidence

(Docket No. 53). The Court held an evidentiary hearing on the Motion on June 18 and 19, 2014.

The parties have filed post-hearing briefs. (Docket Nos. 109, 110). For the reasons stated herein,

the Motion To Suppress (Docket No. 48) is GRANTED in part, and DENIED in part.1

                             II. Factual and Procedural Background

       Through his Motion To Suppress, the Defendant makes the following claims: (1) the

initial traffic stop was unlawful; (2) the stop was unlawfully prolonged; (3) the search of his

vehicle was unlawful; (4) the search of his cell phone was unlawful; and (5) officers violated his

Miranda rights.

                                           III. Analysis

A. Initial Traffic Stop

       The Defendant first argues that the initial stop of his vehicle violates the Fourth

Amendment. The Government argues that the stop was supported by probable cause to believe

the Defendant committed the civil traffic violation set forth in Tennessee Code Annotated


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           The Court dismissed the Defendant’s selective prosecution claim at the conclusion of
the hearing. (Docket No. 99).


 Case 3:13-cr-00209        Document 111        Filed 08/06/14      Page 1 of 19 PageID #: 705
Section 55-8-124(a) of following the vehicle in front of him too closely.

       Stopping and detaining a motorist constitutes a “seizure” under the Fourth Amendment.

See, e.g., United States v. Cochrane, 702 F.3d 334, 340 (6th Cir. 2012). The Sixth Circuit has

held that an officer may lawfully stop a vehicle when he or she either has probable cause to

believe that a civil traffic violation has occurred or reasonable suspicion of an ongoing crime.

United States v. Jackson, 682 F.3d 448, 453 (6th Cir. 2012); United States v. Smith, 601 F.3d

530, 542 (6th Cir. 2010). If probable cause exists for the traffic stop, the officer’s subjective

motivation for making the stop is not relevant. Whren v. United States, 517 U.S. 806, 116 S.Ct.

1769, 135 L.Ed. 89 (1996).

       “Probable cause” is a reasonable ground for belief supported by less than prima facie

proof but more than mere suspicion. See, e.g., United States v. Alexander, 528 Fed. Appx. 515,

518 (6th Cir. June 11, 2013). Probable cause determinations are “fact-dependent and will turn on

what the officer knew at the time he made the stop.” United States v. Valdez, 147 Fed. Appx.

591, 594 (6th Cir. Sept. 26, 2005).

       Tennessee Code Annotated Section 55-8-124(a) provides: “The driver of a motor vehicle

shall not follow another vehicle more closely than is reasonable and prudent, having due regard

for the speed of the vehicles and the traffic upon and the condition of the highway.” The Sixth

Circuit has specifically held that an officer does not violate the Fourth Amendment when he or

she stops a vehicle based upon probable cause to believe a violation of this statute has occurred.

See United States v. Kelley, 459 Fed. Appx 527, 532 (6th Cir. Feb. 7, 2012)(Officer’s testimony

that he saw the defendant’s vehicle, traveling about 55 miles-per-hour, within three to five feet

of vehicle in front of it supported a finding of probable cause for the stop); United States v.



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 Case 3:13-cr-00209         Document 111         Filed 08/06/14      Page 2 of 19 PageID #: 706
Sanford, 476 F.3d 391, 395-96 (6th Cir. 2007)(Officer who observed defendants’ vehicle

momentarily follow another vehicle within a distance of 10 feet while traveling 65 miles-per-

hour and a third vehicle passing in the passing lane had probable cause to believe Tenn. Code

Ann. § 55-8-124(a) had been violated, and was justified in making the stop); Valdez, supra

(Officer who observed vehicle traveling approximately 60 miles per hour pull to within 20 to 30

feet of another vehicle is justified in making a stop for violation of Tenn. Code Ann. § 55-8-

124(a)); United States v. Jimenez, 446 Fed. Appx 771 (6th Cir. Nov. 30, 2011)(Probable cause to

believe statute violated where officer testified that he saw defendant’s vehicle, traveling at a

speed of 55 miles-per-hour, come within 24 inches of the vehicle in front of it).

       At the hearing, Preston Hill, a deputy for the Haywood County Sheriff’s Department and

a special agent with the West Tennessee Drug Task Force, testified that on October 9, 2013,2 he

was on duty in the median of the eastbound side of Interstate 40 around mile marker 46 when he

observed the Defendant’s vehicle. (Transcript of Suppression Hearing, Volume I, at 8-13

(Docket No. 104)). Deputy Hill testified that the Defendant’s vehicle was following a tractor-

trailer truck and was traveling with surrounding vehicles at a speed of approximately 70 miles

per hour. (Id., at 13, 21). After observing the Defendant’s vehicle for a short period of time,

Deputy Hill determined that the Defendant was traveling too closely behind the tractor-trailer

truck. (Id., at 13, 21-25). Deputy Hill testified that as he neared the Defendant’s vehicle, the

Defendant began to decelerate and increase the distance between his vehicle and the truck. (Id.,

at 22-23).



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         Early in his testimony, Deputy Hill stated that the incident occurred on October 8,
2013. The parties later stipulated that the correct date was October 9, 2013. (Transcript of
Suppression Hearing, Volume I, at 8, 62-63 (Docket No. 104)).

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 Case 3:13-cr-00209        Document 111         Filed 08/06/14      Page 3 of 19 PageID #: 707
        Deputy Hill testified that in making the determination that the Defendant was following

too closely, he applied a rule of thumb that a vehicle should allow one car length for every 10

miles per hour that it is traveling. (Id., at 20). Thus, according to Deputy Hill, a vehicle traveling

60 miles per hour is likely following too closely if it is closer than six car lengths behind the

vehicle in front of it. (Id.).

        Upon determining that the Defendant’s vehicle did not allow such a safe distance

between it and the truck in front of it, Deputy Hill eventually pulled behind the Defendant and

activated his blue lights. (Id., at 25). The Defendant then stopped his vehicle in the break-down

lane and Deputy Hill pulled behind him. (Id.)

        Deputy Hill testified that his car has a camera that is activated when he turns on his

lights, and begins recording 30 seconds or so prior to that point. (Id., at 14-19). According to

Deputy Hill, the audio capability for the camera was not working on the date in question. (Id.).

The video of the stop, filed at Docket No. 92, was played multiple times during the evidentiary

hearing.

        The Defendant testified at the hearing that the stop occurred as he was traveling on

Interstate 40 heading to Nashville. (Transcript of Suppression Hearing, Volume II, at 253-54

(Docket No. 105). After passing mile marker 42, the Defendant testified, he noticed a white

Tahoe on an access road between mile markers 43 and 43. (Id., at 254). The Defendant testified

that after seeing that an officer was in the vehicle, he slowed down to 68 miles per hour. (Id., at

255). According to the Defendant, he then noticed another officer had pulled a vehicle over in

the break-down lane, and he moved into the left lane of traffic with the other vehicles that were

in the left lane. (Id., at 255-56). When he changed lanes, the Defendant testified, he slowed down



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 Case 3:13-cr-00209              Document 111   Filed 08/06/14       Page 4 of 19 PageID #: 708
to 55 miles per hour, and maintained that same speed as he began to return to the right lane. (Id.,

at 256). At that point, according to the Defendant, the white Tahoe pulled almost to the side of

his vehicle, then moved into the lane behind him and pulled him over. (Id., at 256-57). The

Defendant testified that he was not following too closely behind the tractor-trailer truck in front

of him. (Id., at 275).

        The Tennessee Comprehensive Driver License Manual, introduced as Government’s

Exhibit 1 at the hearing, provides as follows:

        The Two-Second Rule

        To share the road safely, stay a safe distance from the vehicle in front of you.
        Nationally safety agencies and driver education programs have tried to define a
        safe following distance for drivers to maintain. This has ranged from a two to four
        second following distance. Use the following tips to determine if you are
        following too closely:
                                              [Graphic]

        A. As the car ahead of you passes a stationary point on the road (a sign post,
        driveway, utility pole, etc.), count the seconds it takes you to reach the same spot.
        ...

        B. Count to yourself “one-thousand and one, one-thousand and two,” etc. You
        should NOT reach the same point on the road before you finish counting to at
        least “one-thousand-two.” If you do, you are following too closely.

        C. Slow down slightly to increase the space between you and the other vehicle.
        Find another spot to check your new following distance. Repeat this exercise until
        you are following no closer than two seconds.

        This principle will hold true at any speed on state and U.S. highways with
        moderate speed limits. However, during inclement weather, interstate highway
        driving at higher speeds and night driving, the two-second rule should be
        increased to allow for improved visibility. A minimum of four seconds should
        allow for better reaction time and a safer space cushion under these conditions
        including following a motorcycle.

(Government’s Exhibit 1, at 48-49)(italicized emphasis added).



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 Case 3:13-cr-00209        Document 111          Filed 08/06/14     Page 5 of 19 PageID #: 709
       The Manual also estimates that the braking distance for a vehicle traveling 70 miles per

hour is 290 feet, and when the “perception time” is included, the total stopping distance is 418

feet. (Id., at 49). The Manual estimates the average stopping distance, excluding the distance

required for “perception time,” is 367 feet. (Id.) See also Valdez, 147 Fed. Appx at 594

(Applying standard in previous version of driver manual that vehicles should maintain at least

one car length for every 10 miles per hour); Stanford, 476 F.3d at 396 (applying same standard).

       At the hearing, the Defendant referred to a document indicating that Federal Highway

Safety Administration requires the white lines painted in the center of roadways to be 10 feet

long, and the gap between the lines to be 30 feet long. (Transcript of Suppression Hearing,

Volume II, at 195-97 (Docket No. 105)). Using that measure of distance, the Defendant argues,

shows that the Defendant was not following too closely.

       Having viewed and considered the video (Docket No. 92) and the other exhibits admitted

at the hearing, including the recommendations contained in the Driver License Manual, as well

as having observed the demeanor of the witnesses, the Court is persuaded that Deputy Hill had

probable cause to believe the Defendant’s vehicle violated Tennessee Code Annotated Section

55-8-124(a) when he made the stop. The video supports Deputy Hill’s testimony that the

Defendant’s vehicle followed the tractor-trailer truck “more closely than is reasonable and

prudent” at the time Deputy Hill first observed it. Although the Defendant vehemently contends

that he was not following too closely, the “relevant inquiry is whether the police officer

possessed probable cause. . . to believe that a traffic violation occurred, not whether a traffic

violation in fact occurred,” or whether the violation has been proved beyond a reasonable doubt.




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 Case 3:13-cr-00209        Document 111         Filed 08/06/14      Page 6 of 19 PageID #: 710
Sanford, 476 F.3d at 396 n. 2.3

B. Duration of the Stop and Search of the Vehicle

       The Defendant also argues that the traffic stop was unconstitutionally prolonged by the

officers. The Government argues that duration of the stop was lawful.

       The Supreme Court has held that “a seizure that is lawful at its inception can violate the

Fourth Amendment if its manner of execution unreasonably infringes interests protected by the

Constitution.” Illinois v. Caballes, 543 U.S. 405, 407, 125 S.Ct. 834, 160 L.Ed.2d 842 (2005).

“A seizure that is justified solely by the interest in issuing a warning ticket to the driver can

become unlawful if it is prolonged beyond the time reasonably required to complete that

mission.” Id.

       On the other hand, “[a]n officer’s inquiries into matters unrelated to the justification for

the traffic stop. . . do not convert the encounter into something other than a lawful seizure, so

long as those inquiries do not measurably extend the duration of the stop.” Arizona v. Johnson,

555 U.S. 323, 333, 129 S.Ct. 781, 172 L.Ed.2d 694 (2009). A “measurable extension” is more

than “minimal.” United States v. Stepp, 680 F.3d 651, 662 (6th Cir. 2012); United States v.

Everett, 601 F.3d 484, 492 (6th Cir. 2010). In determining whether the extension of the stop

violates the Fourth Amendment, the Sixth Circuit has held that “the proper inquiry is whether the

‘totality of the circumstances surrounding the stop’ indicates that the duration of the stop as a

whole – including any prolongation due to suspicionless unrelated questioning – was

reasonable.” United States v. Everett, 601 F.3d at 494 (quoting United States v. Turvin, 517 F.3d



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           In reaching this conclusion, however, the Court does not rely on the opinion
testimony offered by Trooper Montgomery regarding the initial stop.


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 Case 3:13-cr-00209         Document 111         Filed 08/06/14      Page 7 of 19 PageID #: 711
1097, 1101 (9th Cir. 2008))(emphasis in original)).

        In determining reasonableness, courts are to examine whether the police diligently

pursued a means of investigation to determine whether the suspected traffic violation occurred,

and if necessary, issue a ticket. Id. Police diligence involves requesting a driver’s license and

vehicle registration, running a computer check, and issuing a ticket. Cochrane, 702 F.3d at 341

(citing United States v. Digiovanni, 650 F.3d 498, 507 (4th Cir. 2011)). “Locomotion-related

inquiries not strictly directed to the motorist’s conduct at the time of the stop, such as ‘[the]

motorist’s travel history and travel plans’ and ‘the driver’s authority to operate the vehicle,’ . . .

rarely suggest a lack of diligence.” Id. See also United States v. Crawley, 526 Fed. Appx. 551,

556-57 (6th Cir. May 15, 2013)(Not unreasonable for officer to ask about travel plans before

issuing traffic citation); United States v. Smith, 601 F.3d at 542 (Questions about travel plans,

outstanding warrants, and identification were appropriate and did not unreasonably extend traffic

stop). In addition, questions directed toward officer safety, such as inquiries about dangerous

weapons, do not suggest a lack of diligence. Id., at 495.

        A lack of diligence is shown, however, “if the totality of the circumstances, viewed

objectively, establishes that the officer, without reasonable suspicion, definitely abandoned the

prosecution of the traffic stop and embarked on another sustained course of investigation,” or

“questions unrelated to the traffic violation constituted the bulk of the interaction” between the

officer and the motorist. Id.

        To detain a motorist any longer than is reasonably necessary to issue a traffic citation

requires that the officer have a “reasonable suspicion” of criminal activity, and promptly take

steps to verify or resolve his suspicions. Crawley, 526 Fed. Appx., at 556-57; Smith, 601 F.3d at



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 Case 3:13-cr-00209         Document 111         Filed 08/06/14       Page 8 of 19 PageID #: 712
542.

       Once a vehicle is lawfully detained, an officer may order the driver to get out of the

vehicle. Pennsylvania v. Mimms, 434 U.S. 106, 111 n. 6, 98 S.Ct. 330, 54 L.Ed.2d 331 (1977);

United States v. Hockenberry, 730 F.3d 645, 658 (6th Cir. 2013). An officer may also order

passengers out of a vehicle pending completion of a valid traffic stop. Maryland v. Wilson, 519

U.S. 408, 415, 117 S.Ct. 882, 137 L.Ed.2d 41 (1997); United States v. Ivey, 507 Fed. Appx. 502,

505 (6th Cir. Dec. 4, 2012).

       The evidence at the hearing indicates that Deputy Hill stopped the Defendant’s vehicle

approximately 55 seconds into the video. (Id., at 25). At approximately one minute and 23

seconds into the video, Deputy Hill approached the passenger side of the vehicle, where Co-

Defendant Cinthia Collazo, Defendant’s wife, was sitting, and began speaking to the occupants.

(Id., at 26-27). Deputy Hill testified that he identified himself, and asked the Defendant for his

driver’s license, registration, and proof of insurance. (Id., at 27). Deputy Hill said that he also

asked Ms. Collazo for identification. (Id., at 28). Accordingly to Deputy Hill, Ms. Collazo was

very erratic, stretching her arms and back, and moving during the entire stop. (Id., at 27). Deputy

Hill testified that he waited while the Defendant attempted to locate the documents he had

requested, but at three minutes and 23 seconds into the video, asked the Defendant to step out of

the vehicle because it was difficult to hear him with the traffic noise. (Id., at 29-30). While

standing at the passenger window, Deputy Hill said, he noticed a jar of urine in the van, which

he said indicates “hard travel” – in which the occupants do not want to take the time to stop. (Id.,

at 29-30). Deputy Hill testified that although he had seen truckers use urine jars, he had not

commonly see them in passenger vehicles. (Id., at 30).



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 Case 3:13-cr-00209         Document 111         Filed 08/06/14      Page 9 of 19 PageID #: 713
       At approximately three minutes and 35 seconds into the video, Deputy Hill testified, he

told the Defendant why he had stopped him, and that he was going to check the Defendant’s

driver’s license, and obtain the citation book. (Id., at 30). Deputy Hill testified that the

Defendant was confirming his address at approximately four minutes into the video. (Id., at 31).

Forty seconds later, according to Deputy Hill, while completing the citation, he asked the

Defendant his destination. (Id.). Deputy Hill testified that the Defendant said he was traveling

from Dallas to a Nashville hospital to see his father-in-law, who recently had suffered a stroke.

(Id.). When asked which hospital his father-in-law was in, Deputy Hill said, the Defendant

answered: “the big one.” (Id., at 31-32).

       At approximately six to seven minutes into the video, Deputy Hill testified, the

Defendant explained to him that he owned a body shop, and had to get back in time to complete

payroll by Friday. (Id., at 32). Deputy Hill said they also had a general conversation about the

van the Defendant was driving, and that the Defendant was currently raising his nieces and

nephews. (Id.)

       Deputy Hill testified that at approximately seven minutes and 20 seconds into the video,

he asked the Defendant if he could speak with his wife, and the Defendant nodded affirmatively.

(Id., at 32-33). Deputy Hill testified that he approached the passenger window, and started

speaking with Ms. Collazo. (Id.,, at 33). According to Deputy Hill, Ms. Collazo was unable to

tell him her destination, but when asked if her father had suffered a stroke recently, she said that

he had. (Id.) She said that they were traveling to Nashville to see him, but that she did not know

where he lived because she thought he had moved since they had come to Nashville the previous

month. (Id.) She said she needed to call her sister to find out, according to Deputy Hill. (Id.)



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Case 3:13-cr-00209         Document 111         Filed 08/06/14      Page 10 of 19 PageID #: 714
Deputy Hill testified that he asked Ms. Collazo whether her father was in the hospital or at home,

and she said that he was at home. (Id.). Deputy Hill testified that Ms. Collazo told him she hadn’t

spoken to her father in a while, and found out about the stroke from her sister. (Id., at 34). When

Deputy Hill asked her if she had ever been arrested for drugs or narcotics, Ms. Collazo said that

she had been arrested for cocaine. (Id., at 36-37). During the conversation, Deputy Hill testified,

Ms. Collazo was difficult to understand, and seemed unable to be still. (Id.). Deputy Hill

testified that he believed the inconsistent stories told by the Defendant and his wife, along with

Ms. Collazo’s behavior, and the urine jar, were indicative of criminal activity. (Id., at 34-35).

       At approximately 12 minutes and 56 seconds into the video, Deputy Hill left the

passenger window and began talking with the Defendant again. (Id., at 36-37). According to

Deputy Hill, he explained to the Defendant that dispatch had not called back with the results of

the driver’s license check, and asked the Defendant if “he was okay with waiting until they came

back,” and the Defendant said yes. (Id., at 37).

       Deputy Hill testified that he then asked the Defendant what was wrong with his wife,

referring to her erratic behavior, and whether she was under the influence of narcotics or

anything of that nature. (Id.) According to Deputy Hill, the Defendant said Ms. Collazo had

undergone several cosmetic surgeries and could be on pain medication. (Id.). Deputy Hill

testified that he asked the Defendant about narcotics based on Ms. Collazo’s behavior, the urine

bottle, and the Collazos’ inconsistent stories. (Id.)

       At approximately 13 minutes and 36 seconds into the video, Deputy Hill testified, he

called for backup from David Montgomery of the Tennessee Highway Patrol and the West

Tennessee Drug Task Force. (Id., at 10, 38). Deputy Hill said he called for backup based on Ms.



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Case 3:13-cr-00209         Document 111         Filed 08/06/14     Page 11 of 19 PageID #: 715
Collazo’s behavior, the urine bottle, and the Collazos’ inconsistent stories. (Id., at 38).

       Deputy Hill testified that at approximately 15 minutes into the video, he was completing

the warning citation. (Id., at 38, 40). At 15 minutes, 46 seconds into the video, Trooper

Montgomery arrived on the scene and began talking to the Defendant. (Id., at 38-39). At

approximately 17 minutes into the video, Deputy Hill testified, Trooper Montgomery started

speaking to Ms. Collazo at the passenger window of the van. (Id., at 39-40). Deputy Hill

testified that at 17 minutes and 23 seconds into the video, he was explaining the warning citation

to the Defendant, having received a call from his check on warrants and registration, and at

approximately 19 minutes into the video, the Defendant started to sign the warning citation. (Id.,

at 40, 97-98). After the Defendant signed the warning citation, Deputy Hill handed it to the

Defendant, and the two shook hands at approximately 21 minutes and 39 seconds into the video.

(Id., at 40-42). At that time, Deputy Hill testified, Trooper Montgomery was still at the

passenger window speaking with Ms. Collazo. (Id., at 42). Deputy Hill testified that he and the

Defendant continued to converse. (Id., at 42-43).

       At approximately 29 minutes and 20 seconds into the video, Trooper Montgomery turned

from the van with Ms. Collazo’s handbag in his hand. (Id., at 43). Deputy Hill testified that he

later learned there were Suboxone tongue strips and a prescription bottle that was not in Ms.

Collazo’s name in Ms. Collazo’s purse. (Id., at 43-46).4 At approximately 33 minutes into the

video, Deputy Hill testified, he approached the passenger window of the van to see if Ms.

Collazo’s behavior had changed, and once there, he asked for Ms. Collazo’s consent to search

the vehicle. (Id., at 47). According to Deputy Hill, Ms. Collazo consented to the search. (Id., at

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           In later testimony, Deputy Hill admitted that he was not familiar with what was on the
prescription bottle. (Id., at 82-84).

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Case 3:13-cr-00209         Document 111         Filed 08/06/14      Page 12 of 19 PageID #: 716
48).

        At approximately 34 minutes into the video, Trooper Montgomery placed handcuffs on

the Defendant. (Id., at 48). Deputy Hill testified that he asked the Defendant for consent to

search about five seconds later, and the Defendant agreed. (Id., at 48-49). Deputy Hill testified

that he did not get written consents from the Collazos. (Id.).

        Deputy Hill testified that Ms. Collazo got out of the vehicle at approximately 35 minutes

into the video, and continued her erratic behavior. (Id., at 49-50). Deputy Hill testified that he

asked Ms. Collazo if she had any weapons, and she said she did not. (Id., at 50).

        Deputy Hill testified that the officers began the search after receiving consent to search.

(Id., at 49). According to Deputy Hill, his camera stopped recording at approximately one hour

and 11 minutes into the video because the memory card was full. (Id., at 51). About 15 to 20

minutes later, according to Deputy Hill, the officers found cocaine in hidden compartments in

the vehicle. (Id, at 52).

        Trooper Montgomery testified at the hearing that he responded to Deputy Hill’s request

for backup, and appeared in the video after approximately 15 ½ minutes. (Id., at 124-25). After

speaking with the Defendant, Trooper Montgomery testified, he went to the passenger side of the

Defendant’s vehicle and spoke with Ms. Collazo. (Id., at 125-26). Trooper Montgomery

described her as being unable to sit still as if she were under the influence of an intoxicant or

stimulant. (Id., at 126). Trooper Montgomery testified that he asked Ms. Collazo if he could talk

with her, and she said she did not mind. (Id., at 127). When he asked her where she was going,

Trooper Montgomery testified, she said that she was traveling to her father’s home in Nashville

because he had suffered a stroke, and intended to call her sister for directions to his house when



                                                 13


Case 3:13-cr-00209          Document 111       Filed 08/06/14      Page 13 of 19 PageID #: 717
she arrived. (Id., at 127-28). Trooper Montgomery testified that when he asked Ms. Collazo if

she was nervous because there was something illegal in the vehicle, she appeared defeated and

looked down at her purse. (Id., at 128-29). Trooper Montgomery testified that he then asked her

again if there was something illegal, and if so, was it “a little bit, or is it a lot.” (Id.) According

to Trooper Montgomery, Ms. Collazo answered “it is a lot,” and handed him her purse. (Id., at

129). When asked if the illegal substance was in the purse, Trooper Montgomery testified, Ms.

Collazo nodded her head affirmatively. (Id.). According to Trooper Montgomery, he asked Ms.

Collazo for consent to search her purse, and she agreed. (Id., at 147).

        Trooper Montgomery testified that he looked in the purse and found a prescription bottle

containing Suboxone strips. (Id.). Trooper Montgomery testified at first that the bottle did not

have Ms. Collazo’s name on it, but later stated that he could not remember whose name was on

the bottle. (Id., at 129, 133, 216-19). A picture of the bottle with Ms. Collazo’s name was later

entered in the record as Defendant’s Exhibit Five, and the parties stipulated that the date on the

bottle was August 30, 2013. (Id., at 229-30).

        Trooper Montgomery testified that when he asked Ms. Collazo if the Suboxone strips

were hers, she said she bought them from a relative for $10 each. (Id.)5 At that point, Trooper

Montgomery testified, Ms. Collazo started crying and became very upset, and he attempted to

calm her down before leaving her to speak with Deputy Hill. (Id., at 129-30). Trooper

Montgomery turned from the van at approximately 29 minutes and 20 seconds into the video,

and approached Deputy Hill carrying a purse in one hand and a pocketbook in the other. (Id., at

130). According to Trooper Montgomery, the Suboxone strips were separated, with some in the

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          Trooper Montgomery could not recall if Ms. Collazo described the relative as a sister-
in-law or cousin. (Id., at 129, 215-16, 225).

                                                   14


Case 3:13-cr-00209          Document 111         Filed 08/06/14       Page 14 of 19 PageID #: 718
bottle, some in the pocketbook and some in the purse. (Id.) Trooper Montgomery estimated that

he discovered the Suboxone strips within the first three to five minutes of his conversation with

Ms. Collazo. (Id., at 132-33, 134).

       Trooper Montgomery testified that he then spoke to the Defendant about the Suboxone

strips, and the Defendant told him that his wife had undergone several cosmetic surgeries, and he

thought she had a prescription for the Suboxone. (Id., 131). At approximately 34 minutes into the

video, Trooper Montgomery handcuffed the Defendant. (Id., at 134-35).

       Trooper Montgomery testified that at some point after the Defendant was handcuffed, he

heard Deputy Hill asked him for consent to search and he heard the Defendant agree. (Id., at

135-36, 146-47). Officers eventually found 17 kilos of cocaine hidden in various cavities of the

van. (Id., at 143-45; Defendant’s Exhibit 3).

       The Defendant testified at the hearing that after pulling him over, Deputy Hill came to

the passenger side window of the van, told him that he had nearly caused an accident, and asked

for his registration, driver’s license and proof of insurance. (Transcript of Suppression Hearing,

Volume II, at 258 (Docket No. 105)). According to the Defendant, he was unable to find his

registration, and after explaining that, Deputy Hill asked him to get out of the van. (Id.) The

Defendant testified that Deputy Hill then told him to wait while he retrieved his ticket book.

(Id.) When he returned, the Defendant testified, Deputy Hill told him he was going to issue a

warning for following too closely, but would not issue a ticket. (Id.)

       The Defendant testified that Deputy Hill asked him several questions while filling out the

warning citation. (Id.) Deputy Hill asked him where he was going, who was in the car, where he

lived, whether he had any children, whether he had tattoos, what type of van he was driving, and



                                                 15


Case 3:13-cr-00209        Document 111          Filed 08/06/14    Page 15 of 19 PageID #: 719
where he was working. (Id.) The Defendant testified that Deputy Hill then went to speak with

his wife, and when he returned, he said he was checking on the Defendant’s registration and

warrants. (Id., at 259-60). Deputy Hill told the Defendant it might take a little bit longer because

he had to call it in because of the trees, apparently referring to the difficulty with obtaining

service to communicate with dispatch. (Id., at 261). According to the Defendant, Deputy Hill did

not ask him for permission to speak with his wife; he did not ask for permission to search his

vehicle; and he did not ask him to sign a waiver of rights. (Id., at 260, 271-72).

       The Defendant testified that Deputy Hill handed him the ticket at approximately 20

minutes and 20 seconds into the video, after explaining that everything came back clean and

after having the Defendant sign the ticket. (Id., at 262). Approximately nine minutes later, the

Defendant testified, Trooper Montgomery ended his conversation with Ms. Collazo and

approached the Defendant holding her bag. (Id.)

       According to the Defendant, Trooper Montgomery then asked him why the Suboxone

prescription bottle was empty, and the Defendant told him to look in the bag. (Id.) The

Defendant testified that Trooper Montgomery knew the prescription was for Ms. Collazo, and

knew the date on the bottle. (Id., at 263-64). The Defendant testified that Trooper Montgomery

found the Suboxone strips in the bag. (Id.) The Defendant identified Ms. Collazo’s prescription

for the Suboxone strips, introduced as Defendant’s Exhibit 7 at the hearing. (Id., at 265-66, 269).

According to the Defendant, the prescription was for 15 strips, to last for two months, and was

filled on August 30, 2013. (Id.)

       The Defendant testified that after the officers counted the money they found on the

Collazo’s, Trooper Montgomery discovered an envelope with a white substance in it that he



                                                  16


Case 3:13-cr-00209         Document 111         Filed 08/06/14      Page 16 of 19 PageID #: 720
thought was cocaine. (Id., at 267). At that point, according to the Defendant, Trooper

Montgomery put handcuffs on him. (Id.) The Defendant testified that he told Trooper

Montgomery the substance was not cocaine, but rather was a powder sold in certain Latino stores

for good luck. (Id., at 267-71). The Defendant testified that Deputy Hill told him he could have

his canine walk around the van, and if he failed to alert, the Defendant would be able to leave.

(Id., at 270-71). Despite making this statement, the Defendant testified, Deputy Hill did not use

his canine during the entirety of the stop. (Id., at 271).

        The Defendant testified that neither he nor his wife were asked for consent to search and

neither of them gave consent. (Id., at 260, 271, 275).

        Bryon Osborne of the U.S. Marshal Service testified at the hearing that during the intake

process for Ms. Collazo on October 17, 2013, she told him that she was addicted to Suboxone,

and had last used the drug on the day of the traffic stop. (Id., at 317-18).

        Based on the evidence adduced at the suppression hearing, the Court concludes that the

totality of the circumstances surrounding the stop indicate that it was reasonable and not

unlawfully prolonged. The evidence indicates that it took Deputy Hill approximately 21 minutes

to complete the warrants and registration check and to issue the citation to the Defendant, which

was not an unreasonable amount of time to complete that process. The questions asked by

Deputy Hill during that time were primarily related to the Defendant’s operation of the vehicle

and travel plans. Other questions asked by Deputy Hill during that time were supported by

reasonable suspicion based on the inconsistent stories told by the Defendant and his wife, as well

as Ms. Collazo’s erratic behavior.

        The evidence at the hearing further indicates and the Court finds that any detention of the



                                                  17


Case 3:13-cr-00209         Document 111         Filed 08/06/14      Page 17 of 19 PageID #: 721
Defendant after Deputy Hill handed him the traffic citation was justified by statements Ms.

Collazo had made to Trooper Montgomery. Trooper Montgomery testified that within three to

five minutes after he began his conversation with Ms. Collazo, which was before or

contemporaneous with Defendant’s signing of the citation, Ms. Collazo told him, after a

consensual search of her purse revealed Suboxone strips, that she had purchased the Suboxone

from a relative. That admission by Ms. Collazo, along with the inconsistent, improbable stories

given by the Collazos and the erratic behavior of Ms. Collazo, gave the officers probable cause

to search the vehicle. See United States v. Ross, 300 Fed. Appx. 386, 390 (6th Cir. Nov. 12,

2008).

         The Defendant argues that the presence of Ms. Collazo’s name on the prescription bottle

fully explained the presence of Suboxone strips in her purse, and defeats probable cause. The

uncontroverted proof indicates, however, that Ms. Collazo stated she obtained the strips she

possessed from a relative rather than through the prescription given by her physician. That the

dosage instructions and the quantity set forth on the prescription bottle indicated that those

Suboxone strips would have been consumed by the date of the stop lent credence to Ms.

Collazo’s statement that she obtained the strips in her purse from a relative.6

         Having found probable cause to support the search, the Court finds it unnecessary to

consider the Government’s argument that the Defendant consented to a search of the vehicle.



         6
            The dosage instructions on the prescription bottle stated: “Dissolve ½ film under the
tongue every day,” and the quantity listed on the bottle was 15. Defendant’s Exhibit 5. The date
on the bottle was August 30, 2013. (Docket No. 105, at 56). Thus, it was reasonable for the
officer to assume that the strips issued pursuant to the prescription would have been consumed
by September 30, 2013, and therefore, the 14 strips he found in Ms. Collazo’s purse on October
9, 2013, were obtained without a valid prescription as she had indicated.


                                                 18


Case 3:13-cr-00209         Document 111        Filed 08/06/14      Page 18 of 19 PageID #: 722
C. Miranda Warnings

       The Defendant argues that any consent to search he allegedly provided was invalid

because he had not been advised of his rights under Miranda v. Arizona, 384 U.S. 436, 86 S.Ct.

1602, 16 L.Ed.2d 694 (1966) before he allegedly gave consent. As the Court has not relied on

consent as a basis for the search of the vehicle, it is unnecessary to address the parties’ Miranda

arguments. To the extent the Defendant seeks to suppress other alleged statements based on

Miranda, he should file an appropriate motion and the Court will consider his arguments.

D. Cell Phone Search

       The Defendant argues that the images obtained from his cell phone without a warrant and

without his consent should be suppressed, citing Riley v. California, 134 S.Ct. 2473 (2014). In

Riley, the Supreme Court held that police conducting a search incident to an arrest could not

search an arrestee's cell phone absent a search warrant authorizing them to do so.

       The Government has not filed a search warrant authorizing the search of the Defendant’s

phone, nor has it otherwise addressed the Defendant’s argument. Accordingly, the Defendant’s

Motion is GRANTED as to evidence obtained from his cell phone.

                                          IV. Conclusion

       For the reasons set forth herein, the Defendant’s Motion To Suppress (Docket No. 53) is

granted in part, and denied in part.

       It is so ORDERED.

                                                      _________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




                                                 19


Case 3:13-cr-00209         Document 111        Filed 08/06/14      Page 19 of 19 PageID #: 723
